                                   Case 23-12348-SMG                  Doc 1        Filed 03/27/23            Page 1 of 9


Fill in this information to identify your case:

United States Bankruptcy Court for the:

SOUTHERN DISTRICT OF FLORIDA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           06/22
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Polymer Extrusion Technology Incorporated

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Glasslam
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1601 Blount Road
                                  Pompano Beach, FL 33069
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Broward                                                         Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    Polymer Extrusion Technology Incorporated                                                    Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor. See
                                         http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 3261

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
     A debtor who is a “small             Chapter 9
     business debtor” must check          Chapter 11. Check all that apply:
     the first sub-box. A debtor as
     defined in § 1182(1) who                                    The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     elects to proceed under                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     subchapter V of chapter 11                                  $3,024,725. If this sub-box is selected, attach the most recent balance sheet, statement of
     (whether or not the debtor is a                             operations, cash-flow statement, and federal income tax return or if any of these documents do not
     “small business debtor”) must                               exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     check the second sub-box.
                                                                 The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number




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Debtor    Polymer Extrusion Technology Incorporated                                                        Case number (if known)
          Name

10. Are any bankruptcy cases                  No
    pending or being filed by a
    business partner or an                    Yes.
    affiliate of the debtor?




     List all cases. If more than 1,
     attach a separate list                           Debtor                                                                    Relationship
                                                      District                                 When                             Case number, if known


11. Why is the case filed in           Check all that apply:
    this district?
                                                 Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                                 preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                                 A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or                  No
    have possession of any
    real property or personal                        Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                            Yes.
    property that needs
    immediate attention?                             Why does the property need immediate attention? (Check all that apply.)
                                                        It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard?
                                                        It needs to be physically secured or protected from the weather.
                                                        It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                                       livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                        Other
                                                     Where is the property?
                                                                                      Number, Street, City, State & ZIP Code
                                                     Is the property insured?
                                                        No
                                                        Yes.     Insurance agency
                                                                 Contact name
                                                                 Phone



          Statistical and administrative information

13. Debtor's estimation of             .          Check one:
    available funds
                                                     Funds will be available for distribution to unsecured creditors.
                                                     After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of                     1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                                5001-10,000                                 50,001-100,000
                                            50-99
                                            100-199                                          10,001-25,000                               More than100,000
                                            200-999

15. Estimated Assets                        $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                            $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                            $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                            $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities                   $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion

Official Form 201                                   Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 3
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Debtor   Polymer Extrusion Technology Incorporated                                  Case number (if known)
         Name

                             $50,001 - $100,000                         $10,000,001 - $50 million            $1,000,000,001 - $10 billion
                             $100,001 - $500,000                        $50,000,001 - $100 million           $10,000,000,001 - $50 billion
                             $500,001 - $1 million                      $100,000,001 - $500 million          More than $50 billion




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Debtor    Polymer Extrusion Technology Incorporated                                                Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      March 27, 2023
                                                  MM / DD / YYYY


                             X   /s/ Violet Howes                                                         Violet Howes
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Director




18. Signature of attorney    X   /s/ David A. Ray                                                          Date March 27, 2023
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 David A. Ray
                                 Printed name

                                 David A. Ray, P.A.
                                 Firm name

                                 303 SW 6th Street
                                 Fort Lauderdale, FL 33315
                                 Number, Street, City, State & ZIP Code


                                 Contact phone      954-399-0105                 Email address      dray@draypa.com

                                 Florida Bar Number 13871 FL
                                 Bar number and State




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 Fill in this information to identify the case:
 Debtor name Polymer Extrusion Technology Incorporated
 United States Bankruptcy Court for the: SOUTHERN DISTRICT OF                                                                                Check if this is an
                                                FLORIDA
 Case number (if known):                                                                                                                     amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 1601 Blount LLC                                                                                           $367,838.64                        $0.00            $367,838.64
 1601 Blount Road
 Pompano Beach, FL
 33069
 Agile Premium                                                                                                                                                     $1,053.10
 Finance
 PO Box 549
 Newark, NJ
 07101-0549
 American Express                                                                                                                                                      $10.03
 PO BOX 650448
 Dallas, TX
 75265-0448
 ATG Engineering,                                                                                                                                                  $3,950.00
 Inc.
 6320 N.E. 21st Road
 Fort Lauderdale, FL
 33308
 Cannon Financial                                                                                                                                                    $349.83
 Services, Inc.
 14904 Collections
 Center Drive
 Chicago, IL
 60693-0149
 Coastal Waste &                                                                                                                                                     $108.67
 Recycling Inc.
 PO Box 25756
 Miami, FL
 33102-5756
 Comcast                                                                                                                                                             $619.45
 PO Box 530098
 Atlanta, GA
 30353-0098
 Federal Express                                                                                                                                                       $16.51
 PO Box 660481
 Dallas, TX
 75266-0481


Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1
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 Debtor    Polymer Extrusion Technology Incorporated                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim               Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade            is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,            unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,            disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                    Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                        partially secured          of collateral or setoff
 FPL                                                                                                                                                                 $720.99
 General Mail Facility
 Miami, FL
 33188-0001
 Future Energy                                                                                                                                                       $296.94
 Solutions
 5400 NW 35th
 Avenue
 Fort Lauderdale, FL
 33330-9000
 Glasshape                                                                     Disputed                 $5,250,000.00                         $0.00          $5,250,000.00
 Manufacturing LTD

 Hall Booth Smith ,                                                                                                                                                $3,540.00
 P.C.
 191 Peachtree
 Street, NE
 Atlanta, GA
 30303-1775
 Industrial Container                                                                                                                                              $2,384.74
 Services
 LockBox #776046
 6046 Solution
 Center
 Chicago, IL
 60677-6000
 Leyton                                                                                                                                                            $1,744.98
 2 Avenue de
 Lafayette
 Boston, MA 02111
 Miami Dade County                                                                                                                                                 $1,612.50
 11805 S.W. 26th
 Street, Room 208
 Miami, FL
 33175-2474
 Nedex Kimya San                                                                                                                                                 $17,833.53
 Ve Tic A.S.
 Serifali Mah Cetin
 Cad Kiz Sk
 No. 1 Elit Plaza
 A Blok 5 Kat 34775
 Unraniye, Istanbul,
 TURKEY
 UPS                                                                                                                                                               $1,981.62
 PO Box 650116
 Dallas, TX
 75265-0116




Official form 204                       Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2
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           1601 Blount LLC
           1601 Blount Road
           Pompano Beach, FL 33069


           Agile Premium Finance
           PO Box 549
           Newark, NJ 07101-0549


           American Express
           PO BOX 650448
           Dallas, TX 75265-0448


           Andre Law Firm PA
           1801 N.E. 123rd Street, Suite 314
           Miami, FL 33181


           ATG Engineering, Inc.
           6320 N.E. 21st Road
           Fort Lauderdale, FL 33308


           Cannon Financial Services, Inc.
           14904 Collections Center Drive
           Chicago, IL 60693-0149


           Coastal Waste & Recycling Inc.
           PO Box 25756
           Miami, FL 33102-5756


           Comcast
           PO Box 530098
           Atlanta, GA 30353-0098


           Federal Express
           PO Box 660481
           Dallas, TX 75266-0481


           FPL
           General Mail Facility
           Miami, FL 33188-0001


           Future Energy Solutions
           5400 NW 35th Avenue
           Fort Lauderdale, FL 33330-9000
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       Glasshape Manufacturing LTD



       Hall Booth Smith , P.C.
       191 Peachtree Street, NE
       Atlanta, GA 30303-1775


       Industrial Container Services
       LockBox #776046
       6046 Solution Center
       Chicago, IL 60677-6000


       Leyton
       2 Avenue de Lafayette
       Boston, MA 02111


       Miami Dade County
       11805 S.W. 26th Street, Room 208
       Miami, FL 33175-2474


       Nedex Kimya San Ve Tic A.S.
       Serifali Mah Cetin Cad Kiz Sk
       No. 1 Elit Plaza
       A Blok 5 Kat 34775
       Unraniye, Istanbul, TURKEY


       UPS
       PO Box 650116
       Dallas, TX 75265-0116
